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                        Exhibit 6
            to Declaration of Rachel Doughty
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                                        GREGORY J. ALLORD

    CONTACT INFORMATION

4905 Tokay Boulevard                                                     Cell: 608 770-5586
Madison, Wisconsin, United States of America 53711-1226                  Email: allordgreg@gmail.com

    EDUCATION

University of Wisconsin-Madison, BA Geography/Cartography                Madison, WI 1976


    MANAGEMENT POSITIONS

United States Geological Survey                              December 1979 – January 2013
       Chief, Cartography and Publishing Program, Water Resources Division 1979 – 2002
       USGS Publishing Program Manager, Geographic Information Office      2002 – 2007
       Manager, Historical Topographic Mapping Collection                  2007 – 2013

    SELECTED SPECIAL PROJECTS, USGS

Coal Hydrology Program                                                           1978 – 1983
       Cartographic Specialist and publishing manager for 62 individual reports of water resources
              in all U. S. Coal Fields

Proof of Concept Team for Geographic Information System (GIS)                    1982 – 1984
       Conducted trial GIS project at EROS Data Center, evaluated GIS software,
              researched different GIS resulting in first Bureau-level procurement of GIS software

Ground-Water Atlas of the United States                                         1991 – 1999
      Lead specialist for implementing digital mapping workflow for this multi-volume national atlas

Water-Resources Division Liaison to U. S. Fish & Wildlife Service              1993 – 1997
      Assisted FWS, National Wetlands Inventory, to convert status and trends raster database to
             a GIS vector database

Cartographic Specialist, National Water Summary Program                          1983 - 1996
       Multi-volume series on state-by-state special water-resources topics

Bureau Publishing Program Manager and Chair, USGS Publishing Issues Group 2002 – 2007
      Bureau-wide team of publishing specialists to review and approve new policies
      Coordinated and implemented digital publishing systems
      Developed contract specifications and award of uniform publishing software
      Part of Bureau team to review and revise publishing staff levels and budgets

Publications Warehouse of the USGS                                            2004 – 2007
       Initiated and implemented system for managing, populating and serving USGS publications
       Managed project to convert more than 30,000 scientific reports from paper to on-line format



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                                         GREGORY J. ALLORD

Historical Topographic Map Collection                                         2007 – 2013
        Conceptualized process for scanning and georeferencing quadrangle maps
        Created metadata and scanned more than 180,000 topographic quadrangles
        Research contract manager to University of Wisconsin-Madison, Geography Department to go
               from white paper to deployed software for semi-automated georeferencing quadrangles
        Placed more than 180,000 georeferenced quadrangles, with Federal Geographic Data Committee
               compliant metadata, in USGS archives

    POST RETIREMENT

Expanding Software for Georeferencing Maps                                   2015 – present
      Continued to work with retired UW-Madison professor to expand original USGS software
              Quad-G for quadrangle maps enhanced with two major revisions to Quad-G+
              NotAQuad for thematic maps finalized and tested

    LIST OF PUBLICATIONS

James E. Burt, Jeremy White, Gregory Allord, Kenneth M. Then & A-Xing Zhu (2020) Automated and
       semi-automated map georeferencing, Cartography and Geographic Information Science, 47:1, p.
       46-66.
       https://doi.org/10.1080/15230406.2019.1604161

Fishburn, K. A., Davis, L. R., & Allord, G. J. (2017). Scanning and georeferencing historical USGS
       quadrangles: U.S. Geological Survey Fact Sheet. Vols. 2017–3048, 2 p. Reston, VA: USGS.
       https://doi.org/10.3133/fs20173048

Gregory J. Allord, Jennifer L. Walter, Kristin A. Fishburn, and Gale A. Shea, (2014) Specification for the
      U.S. Geological Survey Historical Topographic Map Collection, Techniques and Methods 11-B6 in
      Book 11 Collection and Delineation of Spatial Data, U.S. Geological Survey Standards, 65 p.
      https://doi.org/10.3133/tm11B6

Gregory J. Allord, Kristin A. Fishburn, and Jennifer L. Walter (2014) Standard for the U.S. Geological
      Survey Historical Topographic Map Collection, Techniques and Methods 11-B3 in Book
      11 Collection and Delineation of Spatial Data, U.S. Geological Survey Standards, 11 p.
      https://doi.org/10.3133/tm11B03

Kari J. Craun, John P. Donnelly & Gregory J. Allord (2011) The U.S. Geological Survey Mapping and
         Cartographic Database Activities, 2006 – 2010, Cartography and Geographic Information Science,
         38:3, p. 326-329.
         https://doi.org/10.1559/15230406382326

Thomas E. Dahl and Gregory J. Allord (1996) History of Wetlands in the Conterminous United States in
     National Water Summary on Wetland Resources, U. S. Geological Survey Water-Supply Paper
     2425, p. 19-26.
     https://doi.org/10.3133/wsp2425




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                                         GREGORY J. ALLORD

Allord, G. J. and Paulson, R. W (1991) Use of GIS Technology in Preparing Water-Resources Publications,
        p. 10-12, United States Geological Survey Yearbook, fiscal year 1991.
        https://doi.org/10.3133/70039039

D.J. Graczyk, W. A. Gebert, W.R. Krug, and G.J. Allord (1987) Maps of runoff in the northeastern region
        and the southern Blue Ridge Province of the United States during selected periods in 1983-85,
        U.S. Geological Survey Open-File Report 87-106, 8 p., 3 plates.
        https://doi.org/10.3133/ofr87106

G .K. Moore, L.G. Baten, G.J. Allord, and C.J. Robinove (1983) Application of digital mapping technology
       to the display of hydrologic information; a proof-of-concept test in the Fox-Wolf River Basin,
       Wisconsin, U.S. Geological Survey Water-Resources Investigations Report 83-4142, 118 p.
       https://doi.org/10.3133/wri834142

Allord, G. J. and Scarpace, F. L, 1979, Improving Streamflow Estimates Through the Use of Landsat, in
        Satellite hydrology: proceedings of the Fifth Annual William T. Pecora Memorial Symposium on
        Remote Sensing, Sioux Falls, South Dakota, June 10-15, 1979, 730 pages.

    CURRENT MEMBERSHIP AND AFFILIATIONS

Cartographic and Geographic Information Society
       Board of Directors, 2000 - 2004
       Director, AutoCarto 2012 Conference

American Library Association

North American Cartographic Information Society

    SELECTED AWARDS

2014, Map and Geospatial Information Round Table, American Library Association, Annual Award
       “Driving force for USGS Pubs Warehouse and USGS Historical Topos”

2009, U. S. Environmental Protection Agency Silver Medal for Superior Service (Group)
       “Completion of seamless, nationally consistent National Watershed Boundary Dataset”

1996, U. S. Department of the Interior Honor Award for Superior Service




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